Case 2:22-cr-00146-SSV-JVM Document 59-8 Filed 12/28/22 Page 1 of 29
FROM THE DESK OF JASON A. ATKINSON

18 Ociober 2022

The Honorable Sarah 8, Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor,

| am writing on behalf of my close friend Karen Carter Peterson and her husband Dana Peterson. I love both
these people very much and consider Karen my sister. We were in the Inaugural Class of the Rodel
Fellowship at the Aspen Institute whose goal was to connect the next generation of political leaders, and in our
case, it certainly created a lifelong bond, While I am a Republican from the Northwest and Karen and Dana on
paper should be the opposite in every way, the truth is we are not, and they are my family.

Like many who care about Karen and Dana, we didn’t know about her addiction. But once the secret was out,
among us, there is no condemnation. Karen and Dana committed to recovery and Karen has done the hard
work of addiction care, the 12-step process, inpatient work and has made restitution. She is, as her family
knows, the leader in recovery she has always been in other parts of her life. I am very proud of her and very
proud of Dana who has weathered these storms in lockstep with her every move.

Today | ask for your mercy on Karen, She has done above and beyond what the law requires, She has done all
this work to heal, get well, and to change on her own volition. I assure you; her character is repaired, and she
is in fact a new creation. | marvel who my sister is today, | would urge you in the case before you to use
Karen as a avenue for others to get well and to spare her and Dana. Without question, public servants are held
to a higher standard. 1 would offer Karen’s recovery is an opportunity for Karen to continue in service to those
stil; in process and those who will be in the process of recovery.

Karen is the best and the brightest in our country. Today her talents are matched with the pain she caused and
the public shame of her former positions. But neither of those two definitions represent who she is today. She
is recovered. She is well. She is strong, And she will continue to serve. The scripture infers “what God saves
us from He uses us in.” Your Honor, I urge you to consider mercy, value the work she has done, the restitution
she and Dana have made and the opportunity for Karen to be used in recovery in Louisiana.

All Best,

Jason A. Atkinson

Former Oregon State Senator
Cancidate for Oregon Governor
Rodel Fellow

Founder of Pastor Monday

    
 

EXHIBIT f°

JASON A, ATKINSON .

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2234 Foxbane SQ
Baltimore, MD 21209

October 30, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Grleans, LA 70130

Your Honor,

Thank you for the opportunity to share my deep support for Karen with this letter. | have known Karen
Carter Peterson for more than ten years and have grown to love and respect her immensely,

As a woman who spent most of my life in public leadership positions on the local, state and national
ievel, my profound care and respect for Karen is rare among my peers in politics. Fram the moment t
me. hares, we have been more like sisters than peers in public service. Both growing up the middle
child, with a father in public service in a cities with rich history and culture, who went on to pursue the
law and public service, we could not ignore our similarities. We discovered were kindred spirits with a
zest for life and a strong commitment for empowering our communities. Karen has been one of the
most kind, generous and genuine people | have known. She is a selfless and tireless fighter. | remain
proud and impressed with her achievements on behalf of the people she served in New Orleans and
around the state of Louisiana.

| have aeen witness to Karen’s struggle with addiction. 1 have also been witness to her determination
ane coramitment to recovery. Karen deserves the opportunity to heal. She deserves the chance to put
hey tite back together for herself and for the people she can continue to serve by being a living
testament to the power of responsibility and redemption. | will always be a fan of Karen. | pray for her
strength and your compassion.

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DONNA L. BRAZILE

October 26, 2022

The Honorable Sarah 8. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Sireet, Room C255
New Orleans, LA 70130

Dear Juage Vance,
s

ii nas come to my attention that my colleague and friend, Karen Carter Peterson, will
soon be senienced in connection with crimes stemming from her gambling addiction. Like many
others who know Karen, 1 was not previously aware of her gambling addiction, but let me tell
you what ] abways have known about Karen.

‘ grew up knowing the Carier family, because my father, Lionel, and my aunt, Ethel Mae,
went 10 school with Ken Carter. Growing up in Kenner during the 1960’s and 1970’s, I
remember my father being proud of Ken’s accomplishments, especially when he became the first
Black iax assessor. 1 knew Karen from afar when I was young, but I have known the family she
carne from. She followed in her father’s footsteps in becoming an attorney and, like her father,
she devoted ner lite to public service,

ater, when I became a national officer of the Democratic National Committee — first as
Vice-Cnair and later as Interim Chair ~ 1 worked closely with Karen when she was Chair of the
Louisiana Denocratic Party, in that capacity, I knew Karen to be intelligent, dedicated and
engaged with ihe work of democratic party on the state and national level. She was always
prepared and thoughtful in her remarks and, like her father, she never wavered on valuing the
greater good above all else. Karen eventually took over my role as Vice-Chair of Civic
Engagement and Voter Participation at the DNC and, there too, I knew her to be responsible,
protessiona: and dedicated to the critical work of protecting voting rights.

swound the ime that Karen became a Vice-Chair of the DNC, I asked her to mentor my
Hiese Wo was, ai the time, considering attending law school. Karen cagerly accepted and
Siny uiece with stellar nieniocing, including coaching her through where to apply to law

i ré 16 work during tae summers and even which courses to take. Karen provided my

niece with the structure and dedication she needed to succeed. My niece graduated from law
school near ihe top of her class and sae is now the first attormey in my family thanks to her hard
work, but also Karsa’s.

  

Like muy of Caren’s fhends and colleagues, | was surprised to learn of her gambling
Since leaming of ner iroutnes, T have spoken to Karen at length and I am confident
cuuincly remorserul ror her aciioas and fully committed to rehabilitation, She has
her addiction Sead on, admitted to it and apologized to many for her poor judgment. Karen

itted te her recovery end | have no reason to believe that she will not be successful,

 

 
 
 
 

 
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Your Honor, in weighing Karen’s sentence, I would urge you to consider the good that
Karen has done for the people of Louisiana and the nation — and even my young niece. Knowing
aren, she will likely use this personal tragedy to help others like her — or others at risk of

becoming like her. Karen has a lot left to give and Louisiana needs her talent, dedication and
commitment to the greater good.

‘Thank you for your time,

Sincerery,

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Picront, ava gee.

Doria L. Brazile

 
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Cory A. Booker
Washington, D.C.

November 29, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, Louisiana 70130

Dear Judge Vance,

Throughout my 20-plus years in public service, from my time on the Newark city council, as
Newark mayor, and in the US Senate, I’ve advocated for reforms to our criminal justice system.

My advocacy has included speaking out for the rights of the accused, incarcerated, convicted and
condemned as well as for improved conditions in our prisons, jails and immigrant detention
facilities. I’ve made it a point to visit prisons and jails and I have worked hard to help those
returning from incarceration re-enter society successfully. I have also worked to lower federal
sentences for nonviolent offenses and to make sentencing more fair and proportionate, in
addition to making our system focus more on restorative justice.

It is in this spirit that I write to advocate for a fair and just sentence for Karen Carter Peterson.
My friendship with Karen over the years is one I value. She has been candid with me about her
gambling addiction. Despite her struggles, I still see someone who holds deep passion for
service, a profound gift of empathy for people struggling or suffering and a compelling
conviction to make ours a more just socicty,

I grieve that Karen has fallen short of her own expectations and I can imagine the pain she has
caused to so many through her failings.

This is not the end of Karen's story though.

It is difficult to acknowledge your struggles and, for those wrestling with the demon of addiction
it is difficult to begin down a pathway to recovery. Karen is in this fight.

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Impressively, Karen has used her own struggles to inform her advocacy, as evident in her work to
increase funding for gambling treatment programs that were not available while she was secking
help. Karen is clearly not silent about the challenges she is working to overcome. She seems
intent on using her own situation to bring awareness to an addiction that many are silently
battling.

As Karen enters this next chapter in life, I believe that she has begun to demonstrate her
commitment to healing, toward repentance and toward what will hopefully be her redemption in
the long term.

As author and leader Bryan Stevenson has said, "each of us is more than the worst thing we’ve
done." I firmly believe in the possibility of rehabilitation and in the power of redemption for
anyone. And I believe that Karen has within her a sincere desire to help others, to be of
meaningful service, and possesses the capacity to redeem herself.

From my faith, I believe in, and try to hold myself to the difficult standard of unconditional love.
I pray for all those who may have suffered as a result of Karen’s actions, and I pray for her. 1

believe she shares these prayers as well.

Thank you for your commitment to the highest ideals within our justice system. And thank you
for giving my letter your attention.

Sincerely,

   
 

Cory A. Booker

 
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Sean M, Bruno, CPA

November 1, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern Distriet of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Dear Judge Vance,

Tam writing this letter in support of Karen Carter Peterson in light of her pending sentencing,

Karen and I have known each other since we were small kids. Our parents were good friends and we
used to vacation together at the beach in Biloxi, Mississippi. We soon went our separate ways and
reconnected as young adults as Karen began her journey into politics, ultimate! y becoming a public
servant. Karen has always impressed me with her passion to give back to the community and }
have always been a supporter of Karen in her professional career and as a contributor to her
catpaigns,

Karen has also played a pivotal role in my life. As a graduate of Morehouse College, | have always
given back to my community by serving as a mentor to Afiican American youth and by sitting on
countless boards throughout the City of New Orleans. Several years ago Karen recommended that |
take my service to the next level by serving on the Democratic State Central Committee. | accepted
and now have been fortunate enough to serve as a fepresentative for my District, attend historic
Democratic Conventions and now I sit on the executive committee of the State Democratic Party. |

really appreciate Karen's support and guidance as | entered this new phase as a public servant,

[have firsthand knowledge of the impact addict L individuals’ lives. ,

 
  

   
     

SEEING COUERG sa  Po nPT OPN ONTO ee Pa a Everyone deserves an opportunity
to redeem themselves and give back to the family and community that helped them to overcome their
addiction. Karen deserves this opportunity, After meeting with Karen, I feel that she is truly

remorseful and is taking steps to allow her experience to make her a stronger person and be a
lesson to others.

In closing, | am just one of the lives that Karen has positively impacted over the years. With a
second chance, | believe Karen will continue to have a positive impact in our community, As

you consider her sentence, I humbly ask that her years of service and commitment to the community be
taken into consideration.

§ incerg I,

Sean M. Bruno, CPA

    

 

 

 

11269 Notaway Lane New Orleans, LA 70128

 
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James Benton TIT
P.O, Box 44215
Baton Rouge, LA 70804

November 4, 2022

The Honorable Sarah 8. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor,

I met Karen Carter Peterson about 14 years ago when | began my career at the Louisiana Senate as an
analyst and eventually became a stalf attorney. In the beginning, | watched her fram a distance as she fought
on the House floor for her constituents. Eventually, she made her way to the Senate Chamber, where [ was
afforded the opportunity to meet her formally, 1 always admired the passion she exuberated fighting for not
only the people in her district but also the people of Louisiana. Little did I know, that | would be blessed
with the opportunity to work with her directly years later.

Karen has truly been a beacon of light in my life, She has shown me the level of hard work and dedication
it takes to accomplish things for the greater good of our fellow human beings. She has taught me there is
no proverbial clock to punch when representing those in need and that it is a 24-hour job. Her passion for
the people is second to none. At the state capital, she has been a warrior for the people. In her own
community, she has been an approachable leader with her finger on the pulse of what really matters to her
constituents.

While serving in the military, she always supported me wher | had to leave in service of my Country, When
1 left to go to Judge Advocate School, she made sure I had a position when [ got back and worked directly
with her on the Women and Children’s Commitice at the Louisiana Senate. Since that time | have worked
on several other committees with her, She always checked in on me to make sure | was not settling in regard
to my legal career, She has offered me countless opportunities to expand my professional career.

The thing about Karen is she sees past the day-to-day professional relationships that oftentimes block
knowing another person on a personal level. She actually cares about the well-being of others. She has
cultivated a small army of supporters who have become family, including myself, because she has sown
into us and seen things tn us that many of us may have not seen for ourselves. Your honor, 1 would ask that
you would be able to see past this obstacle, which she has faced head-on, and grant her the grace of someone
who has always put others first.

Karen’s current legal obstacle is not determinative of who she is as a person. Karen is a remarkable human
being who has spent her life in the service of others. Your honor, | ask that you consider her life in total. [
ask that you consider the countless people that she has assisted throughout her life. bask that you believe

 
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in her the same way she believed in many others, including myself. | ask that you believe in her, as the asset
she has always been to this great state, and will continue to be. She is a mighty woman of God, an advocate
for the people, a mentor to many, and an inspiration to an army of dreamers. ]n summation, she encompasses
countless good qualities that drive those of us that know her to pray and plead for her grace throughout this
process.

 

James Benton If]

 
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Ania ft. Brack,
3302 Toledane Street
Riew Ouleana, PAL #0125

October 21, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Dear Judge Vance,

Tam writing this letter of support for my friend and colleague, Karen Ruth Carter Peterson. In
1999, I initially met Karen where both of us were contenders for the 93" District seat in the Louisiana
House of Representatives. At that time, the seat became vacant by the passing of my grandfather,
Reverend Avery C. Alexander. During that race, I realized we were more alike than different
concerning passion for children, families, and communities. Although she won and I lest, I developed
admiration and respect that marked the beginning of a long friendship.

Karen and I come from quite diverse backgrounds. But what I appreciate most about her is that she
has always been non-judgmental. She sees tremendous value and virtue in most she meets. She is
genuine, kind, straightforward; is as intelligent as anyone I have ever met. During the family’s time of
bereavement at the passing of her father, “Ken” Carter, I saw her willing to be vulnerable and share
openly with others. Karen exudes compassion and love with every fiber of her being.

Karen entered politics because she wanted to improve our communities. She delivered on every
campaign promise she ever made, Beyond that, she cared for the people of Louisiana. Last year,
Hurricane Ida hit our area hard. I had the pleasure of working with KCP as she pulled together a
massive recovery effort at the Dryades YMCA serving thousands. People in the area lost power and
access to critical services. Karen quickly mobilized resources and military workforce to help our team.
This team fed people, distributed water, ice, sandbags, cared for the elderly in the senior centers; we
supported a senior housing facility, in her senate district, where four residents were discovered dead
from the heat; we assisted with locating missing loved ones and more. Through this effort, under
Karen's leadership and commitment to the community, we helped people in our metropolitan area
through a challenging time. I have witnessed Karen do this countless times over the past 20+ years I
have known her.

Tam deeply saddened that Karen is in this position and I am emotional as I write this letter on her
behaif. I wholeheartedly trust that Karen never intended to hurt anyone or cause pain to her family
and friends. Karen comes from an upstanding and proud family/village who is suffering with her
through this. Karen’s nickname amongst her closest friends is “Tiger.” Why? She is tenacious and a
fighter, and she will recover from this. Because of the significant investment Karen has made
throughout her life of public service, she has the support of so many throughout our community and
throughout Louisiana. I pray that she is provided as much grace and mercy as possible.

 

 
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3381 Maple Ridge Dr.
New Orleans, LA 70129

October 20, 2022

The Honorable Sarah 8. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor,

I have known Karen Carter Peterson since she was a young girl.
Her father and I have been great friends since we began
community work together in the 70s in the central city area.
Karen is like a niece to me. She has my unwavering support.

From a young age, Karen was very organized and focused. She
had a big heart for helping people, so it was not surprising that
eventually, she entered politics, When she first decided to run
for the legislature, I happened to see Karen as I was wearing a
shirt supporting the opposing candidate. Karen cried as she sat
down with me and shared how she wanted to help make a
difference in our community. I left that discussion moved by
Karen’s passion and commitment and that she thought enough of
me to help her be a part of her mission. Karen has devoted her
life to public service, and it has always been with a singular
focus on serving the people of Louisiana.

Last year after Hurricane Ida, I was with Karen as we were
doing relief work in our community. As we were distributing
resources, a lady approached us needing diapers for her children.
We did not have any, and as the lady began to walk away, I saw
Karen talk to her and give her $20. This is just one of many
examples where Karen helped people privately, She was never
involved in politics for fame, notoriety, or status. She genuinely
has the heart to help people. If it weren’t for Karen, many
community reforms would not have happened. Often, she was
the only woman in a room full of men, and she fought hard for
her constituents. Karen is a fighter.

 
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4 UG GUE LISD UH GIOGIOON Goes meh discrinHitatel AVHGE Page 12 of 29
life’s circumstances bring us down, those with a solid character

who chooses to be accountable can survive and succeed, Karen

is going to make it through this challenge. God has a plan for her

life, and He will use her redemptive story of overcoming

addiction to help others. Karen’s life mission to help others may

be delayed, but it will not be denied, Her best is yet to come.

She has the full support of me and countless others who believe

in her,

Sincerely,

   

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Randy Livingston
2118 Jefferson Ave
New Orleans, La 70115

October 29, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, La 70130

Your Honor,

| have known Karen Carter Peterson for a very long time. | coach her nephew for AAU
basketball where Karen ask me to step in as a mentor for her nephew. | have known the family
for a long time, Karen has been one of the best of the best in the New Orleans community in
helping youth gain exposure and get opportunities to become successful human beings.Karen
has always been a servant leader, she has truly made a difference in the community and the
world of politics.

When my AAU organization neeced help with funding for the kids to travel and pursue their
dreams of getting a college education while playing basketball, Karen stepped up and pointed
me in the right direction and help the organization for 4 straight years. Her help has paved the
way for young men in the New Orleans community over the last 4 summers. Over those 4 years
30 kids In the program has received a scholarship to play basketball in college. Karen has
always been there when needed.

Our relationship grow stronger over the last 4 years, because | too, struggle with this terrible
disease called gambling. Having gone through the rehabilitation program set up in Louisiana, |
encourage and have been a friend of Karen’s throughout the struggle. We often check on each
ainer and offer each other support. | have stood side by side in legislation locally and in DC
adivocating for nelping others suffering with this disease, As Karen continues to recover, we will
kapt pressing forward-to bring attention to gambling addiction and to the many people in the
world suffering with this disease. She is like a sister to me and | will always be here for her.

The mere fact that Karen has come forward and taking responsibility for her actions is the 1st

siep in recovery. Karen is an incredibly brave and strong women, a women of faith, God gives

his greatest battle to his soldiers and | believe Karen will become better for going through this.
Karen will continue to carry out God’s work and this is a bump in the road and she continue to
bé a servant leader in the community.

Your honor, | thank you in advance for considering this letter in your evaluation of Karen.
Evervone deserves a second chance, a fresh start.

Blessing,

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October 28, 2022

 

The Honorable Sarah 8, Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor,

I had the privilege of meeting Karen Carter Peterson in November of 2021 while she attended the treatment center at CORE in
_ Shreveport, LA. While we were not at the center together, | was immediately moved by Karen’s vulnerability and desire to be

in recovery over our weekly zoom meetings. J felt a bond with Karen and once her stay at CORE was complete, she was
determined to start a new way of life.

From December 7, 2021 until this date of October 28, 2022, I cannot count on one hand the number of mestings Karen has not
been at our Core zoom that ineets twice a week on Tuesday and Friday evenings while also attending Florida GA Zoom
meetings with me, On Friday, May 20, 2022, Karen began another growth point and started chairing our Friday night meetings,
To give service in recovery in the beginning stages can be a challenge. There is fear, but there is opportunity for growth. Karen
accepted this and in doing so has been a staple in our fellowship. She is lending a hand to those in recovery treatments that
need to hear her shares and see the growth from sitting in those sare chairs at CORE to leading a meeting.

They call the recovery programs anonymous. Karen’s recovery has been out in the public, and she has handled it with strength
and grace that | can only hope to achieve one day. Her story has given hope to others who are just starting their battle with this
disease and walking into recovery. It gives strength to those who have theit own uncertainty about their past and what might
happen to them in their future. When she asked me to write a letter, my own anonymity on my gambling addiction is removed
and I did so without hesitation. And that is because of Karen and her strength and how much she means to me and others in the.

program,

Karen has been instrumental in my own recovery. She has helped me through some hard times and is always available for a
phone call or to go have a coffee to be there for me and me for her, Her faith has been an inspiration and has helped me see and
fee] my own connection to God. Not only has Karen been attending and participating in meetings, but leading and chairing
meetings. The selfless acts of service, spending her Tuesday and Friday evenings to provide topics for all of us to share on to
this day reflects on how kind Karen is and how serious she takes this illness.

Recovery is said to be a simple program, but it takes a lot of work, Karen embodies this and speaks on her struggles with our
disease with the goal of living a life with purpose and serenity and providing help to others, This direction was not to fix her

past. It is the direction to save and live her life and be of service to others along their journeys,

Jam proud and honored to call Karen a sister and a dear friend.

Sincerely,

 

 

 
  

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Sonya Morris
P.O, Box 13504
New Orleans, LA 70185

October 13, 2022

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
300 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor,

Karen Carter Peterson has significantly influenced my life since I was a little girl. My family lived in the
same neighborhood as hers, and she was close to my grandmother, who raised me. I love Karen with all
my heart and offer her my full support.

Karen is an amazing woman. She is kind and compassionate, She respects everyone regardless of race,
gender, wealth, or education. Best of all, she is a genuine and reliable friend who is there for you through
thick and thin, She has always been there for my family and me and especially for me since my
gtandmother passed shortly following Hurricane Katrina.

When I was thirteen, I had a performance at my school. My sister, grandmother, and I were Waiting at the
bus stop to go to my school. Karen stopped in her cat to speak to us and offered us a ride to the school. As
1 got out of her car, she pulled me aside and told me to “speak confidently and that I was an intelligent
young woman and what I had to say was important and will make a difference.” I struggled with a speech
impediment that required therapy as a young girl. I will never forget Karen’s words which inspired me
that day. She continued to mentor me throughout my teenage years, I later became the first person in my
family to go to college. I went on to obtain my Master’s degree. Today, lam an author and speaker.

Karen’s heart is to serve and make a difference in the lives of her family, friends, and her community. No
situation, including this legal setback, will extinguish the flame that burns deep inside her. It speaks
volumes that she has openly acknowledged her gambling addiction and is sharing her redemptive story to
help others who struggle with addiction. Karen is a helper, a supporter, and an encourager, She does it
through her everyday actions; it is how she lives her life. I pray that her history of helping so many people
will be fairly considered and that you can extend leniency to this beautiful woman.

Respecthully,

 
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November 2,2022

The Honorable Sarah § Vance
United States District Court
Eastern District of Louisiana
300 Poydras Street, Room C255
New Orleans,LA 70130

Your Honor,

Ihave known Karen Carter Peterson my whole life, She christened me at a very early age, and
has been a solid supporter, confidant and role model for me. Throughout my formative years,
she’s always shown me what it meant to be a strong, black woman that fought for her conumunity
and most importantly a woman of faith. There were times I know work called as she’s served in
politics most of my life, but she never missed an important event in my life and always made
sure I knew she was there for me. When I think about why my parents chose Karen to be my
godmother, it’s surely because she’s a true model of what it means to work hard and be
successful.

It's recently I realized Karen is also a role model of what it means to suffer graciously, be
vulnerable and share your story to help the noxt person in their struggle.

   

Now this is her time. When I first learned about her addiction, it was like learning about your
superheroe’s achilles heel. But I knew just as she was there for me and has been for so many
others I had to be there for her. Yet, she didn’t need me much because as always Karen has been
sirong throughout this whole situation- sharing her story with anyone willing to listen, telling
people “If I can make it, you can too,” but most importantly showing people she’s getting
through this by her strong faith, While every action has a reaction/eonsequence I believe this
very public struggle has been fairly her consequence, As many people have looked up to het as
their supethero, she’s had to publicly admit her wrong and let go of her successful political
cateer, face public shame, people turn their backs on her, In the face of all of this she’s done the

 
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work internally and externally to begin to right her wrongs. I"m extremely proud of the manner
in which she’s handled this situation- the way only my nanny can wilh honesty and integrity,

It is my prayer and plea that God gives you a light heart and allow Karen to con
people by keeping her in the public so that she can tell her story and help others

Respectfully,

14 LOMA AAA CANE

Veronique Dorsey fo a
4628 Touro Si.
New Ovleans,LA 70122

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tinue to ins

 
 

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Dana.Petarsen
2386 Villeticg St,
New Orleans, LA 70175

November 28, 2022

The Honorable Sarah $. Vanee
United States District Coutt
Eastern District df Louisiana
500 Poydras St, Rain C255
New:Orleans, LA 70480

 

Your'Horiog,

it Is with deep.emotion and sincare rerniorse:that | write. this latter to youu regarding my wit,
Karri Carter Peterson,

   

Karen is an: ‘Thyorenitble WOMAN WIth great-stiarigth, bampassion forsthers, and.a strong moral
compass.rooted Inti

ly, Abd Servite, ‘Its Bugs qualities iat fuéled an ‘imprescive:
barennasa, lagistator, pablte serve at-ndudcnta, arid attorneys atidlt, fae Jory adalhlas tiakarew
metehetwhenswefirst- met-two: ‘devadiss: ‘ago,

  
  
  

  

     
  

Ie. "Lattimately found mi Wie t0 cae is rh ie 9 i se lis
witnessed firsthand: har passion for working on! behalf of others andthiseuminaniyh

   
  

atta ie a : tire fnandous pana and seattone
for (aren Tnaiduale add f filly; Liki pany en ridin Vs Of ‘these: suffering with
addiction, we-often grapple with the feeling of having not daneenough! protect our laved:ones
trot the parils oF addiction, 1A.dur: case, ih ave made several atfempts. to manage our finances
in i Way that vould. Shileld wetram the deavasts 0 eelGle:. diss it, wHlike mote
commion addictlois sueh:ag dh I Ive‘garibling:d per: off 5 fiartle ularly
unique:challenges:inthat patients:conthidethelraddiction from family foryears: ‘before'things fall

apart. There oftenaren’ifighly visible queuasta whatis happening just’beneath the surface.

 

 

 
  

        
    

     

ve. gone to. humerous OUNCE Sessions, with treatment specialistsiand eroup: Sesslons with
others suifferiig with compulsiy We BAdIctION aad ‘thir tanilly:menibers. Pye bean pir
countless emiargeney phone ically ard - tentlonad Intervanitions with exhausted. familly.
meritiers as wetilad to:menege our way: outiofthe: Jatasbrelapse, Infact, Karen's initialynove:to
sign up for the: Loulsiana and Misslssippl’s-casino sélitexelusion (st ‘was the nesuit of opriskant
pushing iid Breidding hy her pareits aid ia. We selfishly and milstakerily thought we could
manage hel addiction, We. convingad Gurselves that if wa could just inieike: hei dothis:one thing,

 
  
 
 

 

 

 
‘ ret ee

 

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it would solvetheproblem. Surely, she could see-the pain th’caused for her and those who loved
her most; and:that would motivate her to: gar le undericonitrol,

But.addiction is compulsive. and-thoxe suffering can’t siniply contrdl It, It takes trariendous

strength dnd courage to-even. bagin the process to tackle the power of addiction and get-on-the
path to recovery, And lt is that moral-fortituda |:mentioned earlier that Karat has finally been
able.to'tap. into‘to beat the healliig process, On November SS, 262d ~ her sot birthday = she
voluntarily entirad C:0-R.E.,.an in-patletit zarhbllng addiction treatment:program In Shraveport,
Louisiana, Of tautsd, Ir'lsn’t het frst exparlane fal Ment, In
however, it. ls the first time she did'so witheu fae i it Hudaing, ln other words, she
didn’t enter for: us, she die it for Herself, This [9 common:bellef IN traatmarit progranis: that
patients must cornmit.to thelr recovery forthamsalves, not tar athers,

     
  
 

ites brealkinent, Inéluding in-patient;

 

Ofall tha accomplishments Karan has achleved ii her life, and:there are many, Hhave-neyer bean
provder of her than the day she. walked through these treattiant. doors. Sheiwas taking her
health and wellriess, and reeavery, lity hero US; Pirial§o Hibud 40 say that we.tecaritly
celebrated 'a-year-of her bang “clean and sober,” oF mote appropriately for garibling addiction,
“off the bet.” ‘She parilcipates In Gamblers: Anonymous meetings five nights aweek-and has
selved ag a leader of hor Friday night:group, quite natural forthe Karen.we-all’know. She works
Frequently with “her sponser, therapeutic: counselor, and. spftitual iadvisor ta ensure she is
offeciively uslig the-ctrategies aid tools tat keep Hieron thé pathte,fecovery, These aretools
for hoallhg, not simaly-Adeountability, Shel se heltools iow because tt-works, wot
hacause her coursélar-seonsor,: to:

  
     

 
    

          
    
 
 
 
 
 
 
  

   

for several years, Unbekiiiist-to- ria

tor’ se devine bi
initiatives were presented, she. was:

a Cotiskint propatiade tes

 

portion Of gairilng rayenues

‘be dedicated to:protilentgamblingawaranass and pravantion:progrants. Two Louisiana gambling

counselors, Ms: Matricla: Green, and Wir, Roberk Hetiick speak. to her efforts bn their
cofreghondente'to you in support of laniendy tar Kaien, In fact, In the months prasddiig Wer.
resignation, she worked with Governor Edwaltsto satund $7 willlloritar Odyssey Hause te launch
anew Inpatiant.gambling treatment program lnNew Orleans — Ike: CO.R.E: livShreveport and
hundreds. of thousands of dollars for. Bridge ‘House/Grace House’ for compulsive. gambling
disorder weatiierit programs. . :

  

 

In:some strange way,.| feel | have bden prepared for thie challenges of my wife's addiction aver
the pasttwanty years, My mather also strupgglad:with addictions she fell pray to the ils of crack
cotaine and’served two stints in.prison during.my childhood, Naturally, her addictlon caused
enormous hardship for cur family, My. grandmather worked into har edrly.sitias despite the
onset of Parkiison’s disease to-supportime. I Yount ancl uacles, cousins, other fanilly nienibers,
and codchas all worked to.maké up the difference far bid; etistiring that. had the-things 1 needed
tosyercoiig, and mayhe witha litte luck, evensuccedd. However, und perhaps more polgnantly,
my mother never really recovered.

 
 

 

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In 1985, she returned home from California after her first prison teri, That:day Is permanently
sketched into my memory—as much as ‘the day she was-arrested and Taken away. As ray hast
friend and | weré baling dropped off af tiome afterpraetice by our badkatball coach, ny fiiother
was soxlously Waiting bebiind the sersen:door, The effects of a prison Seritence as 9 treatiiient
for har drug addiction were plivsically apparant. She was-disheveled’and as a young teenager |
didn’t know how to prokess the eniotlons.that were swelling up In me. My filendl, recognizing
her, asked if that was my mother, My Inntadiate résponse was quick and emphatic, =

“No/" responded. “tdon't knowewhe that:is”

Although our fatnily was elated for.my mother's return — I’m certain my grandmother was
ralleved to have her daughter back —nd put:the whole ordeal belind us; there would be-more
pain, suffering, aiid loss instore, Much Whore, ln 1989, as atrestinan. In collage, [vecéivad a call
Informing ma.my mother had cnee-again baer arrested, Itshould have. been ohvlons.-to. methat
something wasawry, She had beenacting erratically, more household valuablesware noticeably
disappearing with each visit Horie: from:callege, and my grandmother’s.care+ my mother's chiet
responsibllity at diag tive ~ liad béadnto.suffar.

 
 

Despite: many attempts, my mother Hever fully recovered from her-addletin and the dtfacts of
prisonite.realize herdresmns, 1 hful miemonles because itis nilich Cledrartosocaty
today the liraits of prison as-aither

rison-as-<iihiera treatment, rebabilitation, or deterrence forcentain offenses,
particularly those ralatad tocordrivan-by addietion,

 

    
 

Of course, J also. selfishly Shete. Pissed: imaiOeles In thé hopes thakamy: wife will pot: biave-to.
experlencd the same-horrdry as iif Mother Karen’s yedovery'is precious aid wil uodoubtadly
he Interrupted ~ if not.complatily-extinguished ~ by detention. Acéass to 4 proven, effective
treatment program focused-on compulsive gamblingdisorder |s only part of the:solution; it must
be coupled with self-motivation, convient, and purpase, Perhaps.more ima portant-than any
ofthat is the coniilhity of thites Iniacovery together thatserve as the foundation far'snigdedsful
Gamblars Anonymous groups. Katén has thiived ne part of her. tecovely group. sha Ie
accountable, supportive, and encouraging to members:of her group, and: she hag-built many
personal ralatidviships with group.meniers, And in.typleal fashion far Karas, she has leined if
to-halp group members coltrane thé challenpeste staying the course and working thie progiani;
making her redivery:cential té how sha will live the rest of her life,

   

  

   

Karen's case has-garnered muckrattention in our local community because of her role as a public
servant, We heed to makesure.¢lested offices ara held acdountable terthelactions, However,
more than accountabillity for pyblie officlals, Karen's edse should serve to- hlatiight the perils of
gamblitig addiction, With the exponeiitlal ~ and alariilig —rise in costly, slick advertising by
casinos anid garhing companies haodusa of the wave of gambling legalization, the tlaad gates have
sprung wide open, We've normalized batting and welcomed it into-our Ilving sooms. Karen's
story ~ and others like har~is-9 canary ih.the coal nine. The valuabilg lesson here is not one of
alected Offidials abusing the power given to thei by constituents, rather, H is a stiry of a
beautiful person made-tri.the limage-of God, fully capable of the wondrous works Gouhas. called

 
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her to.dé, but hot biipervious to stumbling off the path-or falling short of what we belleve Ge
warits from us. we patho: ng short af what we believe God

Karen has made.a costly mistake, bilt that mistake is not-the result of'a character flaw, Karen's
transgression ls-rooted in addiction, And agcording to treatinent specialists — although not as
well-known ¢s substance addictions, in mary ways eafnipulsive gattibling tisordar opersites the
vaten me bstan reriduced alco, affecting braincells and:cirenttry much the same. way, It's
taken matwenty years dnd plenty of pain to. understandthe depths of what'm asking your hon

to undarstand in a matterofivedks, King your honor

The good news Is that Karen remains in service to har comunity déspite the anormous
challenges brought on by har current circumstances; she continues to ba a champlon for the
needs of the suffering, a mentor for young:peaple trying to find thelr own path, and-a beacon of
ie mates Suffering it silence, She has-proven:that-one doesn’t nead a title to rake a
OITISrence.

  

Your honor, humbly ask you to consider her record-of service to: this céivimunity and her
commitment-to récovery in deciding the right Judgement for tar otfensa, oe

Karen is not parféét but she’s:worth it.

 

 
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Tara Hernandez
4.00 Poydras Street, Ste 2380
New Orleans, Louisiana 70130

The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
590 Poydras Street, Room C255
New Orleans, LA 70130

Dear Judge Vance,

"va writing as an “insider”, with an acknowledged bias, but also through a lens that
has seen Karen in many ways others cannot, have not, or will not see. Through my
lens, | see a god-fearing woman, a person who leads with her heart, who is

imperfect, loves family, and is remorseful and committed to getting better one day at
a time,

Our parents taught us that life comes with a bowl of problems, what's important is
how you handle what's in your bowl because we are imperfect people who must
lead with character, telling the truth, and paying it forward.

There is shame that comes with any addiction, what she continued to repeat is that

she just wanted to tell the truth, get help, and continue to help others battling the
same “demons”.

There are a few times where her actions have really stood out as selfless,

courageous, and/or that moment where | saw character and said to myself “just
wow".

The first was when she shared with me that she and her husband were going to take
a male, teenager in their home, because he was homeless, and needed help and
guidance at a time when he had no one else. They welcomed him in and provided

guidance when needed most. He is productive and remains a part of our family
today,

The second was on the first Friday morning after Katrina, when New Orleanians
were scrambling to take care of themselves and their families, After repeated days
going back and forth between New Orleans and Baton Rouge rescuing seniors and

 
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others by boat, and failing to get the attention of leaders to assist in what she was
witnessing, she just decided to seize the moment, walked up to a news media
camera, unscheduled, to tell the country that we needed most was gasoline and
buses. The news person began to repeatedly ask questions, but her response
remained “that what we needed was gasoline and buses”. I’m not saying that there

weren't others making those same requests all week, but on that Friday, that’s when
we finally saw those resources pour into New Orleans.

The third, and these are not isolated accurrences, are constant to this day. Amidst
her continued strugeles, almost every day, she is doing something to help others
who reach out, or many times they don’t even know that's she’s sent a message or

picked wp the phone to assist on their behalf to provide opportunities in times of
need,

Our actions are sometimes seen through a lens, where the true intent may not be
recognized, and can be misconstrued by others. Karen always leads from her heart.

I humbly ask for leniency, and your consideration of her past and future impact. The
quote below is one that I know you have heard and read before. I share it, not
lightly, but as something ! believe and recognize when | see my sister.

The ultimate measure of a (wo}man is not where (s)he stands in moments of
convemience and connfort, but where he stands at times of challenge and .
controversy," Martin Luther King, fr.

I appreciated youy-cotisideration.
j “if

  

 
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The Honorable Sarah S. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

November 7, 2022

Greetings your Honor.

| have known Karen Carter Peterson over thirty years. | have
participated in her development as a young woman being actively
involved in issues of community development and daily living.

From her youth, Karen has been actively involved in social
organizations and programs that enabled her to learn how to develop
her unique talents as a lawyer, and as a community organizer. She has
used these skills for developing the communities in which she has lived
for over twenty years.

| know Karen to be a woman of deep faith who has confronted
serious challenges to which she is as a woman; a person of faith; a
person of color; and as a public citizen has striven to resolve them ina
positive way.

To address these challenges, Karen has been an active participant in the
religious practices of the Roman Catholic Church; the social renewal
projects of NOLA Family and many other professional organizations.

 
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lt was through these support groups that Karen has come forward to
acknowledge her personal weaknesses in public. Her public

acknowledgement of her issues has the strong support of her family,
her Church members and multiple members of NOLA Family and Me.

It is through this strong support system that Karen found the strength
to seek the professional and legal help that has enabled her to come to
this time or reconciliation with the community, city and state.

i urge your Honor to be compassionate in rendering your judgement
to aren.

 

 
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2253 Baronne Street
New Orleans LA, 70113.
October 18, 2022.

The Honorable Sarah 8. Vance
United States District Court
Eastern District of Louisiana
500 Poydras Street, Room C255
New Orleans, LA 70130

Your Honor
CHARACTER RECOMMENDATION FOR KAREN CARTER PETERSON

1 am Rey. Fr. Dr. Anthony Kwame Gyamerah, a priest of the Catholic Diocese of GGASO,
Ghana, who served as a priest in residence at St. Peter Claver Catholic Church in the
Archdiocese of New Orleans.

While serving as an assisting priest in St. Peter Claver Catholic Church, I got to know Senator
Karen Carter Peterson through spiritual direction and some activities in the church. As I have
known her for the past three years, Karen is kind, generous, humble, and selfless. She is
respectful, thoughtful, responsible, God-fearing, serviceable, and dutiful.

Your Honor, Karen is spiritual and devoted to her God and Catholic devotions and beliefs. These
unfolded in our spiritual directions, church, and prayer sessions. She also volunteered in most of
the church’s community service programs. Karen was generous with her time and resources
during the height of the Covid-19 pandemic. She donated nose masks and assisted in distributing
them to some needy persons without the fear of endangering her health. In acknowledging her
doing these, Karen would remark, “service to God and humanity.” This response sums up her
selflessness, dedication, kindheartedness, and humility to affect lives positively.

Your Honor, I am writing this character recommendation for Karen Carter Peterson based on my
knowledge of her as her spiritual director and priest while serving at St. Peter Claver Catholic
Church, where Ms. Peterson is a parishioner. Ms. Peterson is a good person, and I recommend
her to you and your august court to temper justice with mercy.

Sincerely,
Billo L
(REV. FR. DR. ANTHONY KWAME GYAMERAR)

 
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CHIMENE GRANT SALOY

   

November 29, 2022

Honorable Sarah Vance
United States District Court
Eastern District of Louisiana
300 Poydras Street

Room ©2545

New Orleans, LA 70130

Dear Judge Vance:

My name is Chimene Grant Saloy and I am writing on behalf of Karen Carter Peterson.

Karen and | are first cousins, as a matter of fact, we are each other’s favorite cousin. You see,
Karen, our cousin Kevin Carter and [ were all born in 1969. Karen and I were nick named Salt
and Pepper as young children ~ which has stuck with us to this day 53 years later. Born only five
months apart, we longed to spend time with each other, to spend the night at each other’s homes,
to go to events and parties, to go dancing school at Diedre Jefferson Robinson School of Dance
together, to be maids in the Young Men Illinois ball together, to go to St. Aug talent shows
together. The list goes on and on.

I know everything about Karen. Her love of God and church. Her love for Dana, her husband,

Her passion for service and helping others. Her commitment to family. Her selflessness, Her love
of fishing. Again, that list goes on and on.

But what I didn’t know was that Karen a gambling issue, when | learned what
feed her addition, I was shocked. { caiaiinmaaaile

    
   

Karen’s living, however, is very public — as an elected official who served in the Louisiana State
legislature and who served the Democratic Party both statewide and nationally. Karen’s living
involves advocating for the helpless, the poor, the marginalized, the homeless, women and
children — another list that goes on and on. But you already know about Karen’s amazing legacy
of public service. It’s not lost on me her Salt nickname is so appropriate as she is indeed the ‘salt
of the earth’ — humble, good and honest |

  
 

 
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But what I’m not shocked about is that Karen has chosen to be public about her addiction,
because she’s always been an advocate, She’s always owned up to her mistakes. Why? Because
she has always been someone to help others. That’s who Karen is. A leader, An advocate. A
voice for the voiceless. A champion. Her brother’s and her sister’s keeper. As I appreciate it,
Karen is even a leader in her Gamblers Anonymous group. Reaching back and helping someone
with their crisis ~ to uplift them - is part of Karen’s DNA.

Tam respectfully asking for your leniency in rendering judgement on Karen. Please don’t allow
her addiction, the root cause of her transgression and for which she continues to seeks treatment,
to shape her sentence. Please let Karen continue to be the ‘salt of earth’ by allowing her TEST of
abuse and addiction that became her TESTIMONY of victory over abuse and addiction be the
example and guide for others. Please allow Karen’s financial restitution and other potential
opportunities for making amends be sufficient, just as the Lord’s grace and mercy are sufficient
for all of us.

Thank you for your consideration and the opportunity to present this letter to you on behalf of
my favorite cousin, Karen Carter Peterson.

incerely,

Soup age vide a
Luncingthiad
Chiméne Grant Saloy

 
